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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ROBERT SNEDEKER,                                        )
                                                        )
                                Plaintiff,              )
                                                        )
        vs.                                             )     Law No: 1:16-cv-10907
                                                        )
FORMER CHIEF RICH GIROT, Individually, and )
in his official capacity as Chief of Police of the City )     Honorable John Robert Blakey
of Braidwood and the CITY OF BRAIDWOOD and )
OTHER UNKNOWN EMPLOYEES of the City of )
Braidwood,                                              )
                                                        )
                                Defendants.             )

                 FORMER CHIEF RICH GIROT’S MOTION TO DISMISS
                    PLAINTIFF’S FIRT AMENDED COMPLAINT

        NOW COMES the Defendant, FORMER CHIEF RICH GIROT, Individually, and in his

official capacity as Chief of Police of the City of Braidwood, by and through his attorneys,

RATHBUN, CSERVENYAK & KOZOL, LLC, and for his Motion to Dismiss Plaintiff’s First

Amended Complaint filed pursuant to Federal Rule of Civil Procedure 12(B)(1) and 12(B)(6),

states as follows:

        1.      Plaintiff Robert Snedeker filed a two-count Section 1983 lawsuit against the City of

Braidwood and former police chief Rich Girot stemming from Girot’s alleged interference with

Snedeker’s petition to run as a candidate for the Office of Mayor for the City of Braidwood during

the 2015 election year. More specifically, Snedeker alleges that Girot improperly ran a search of the

Law Enforcement Agencies Database System (LEADS) concerning Snedeker’s criminal history to

remove him from the ballot for Mayor of the City of Braidwood. See Court Doc. No. 18, a copy of

which is attached to the City of Braidwood’s Motion to Dismiss, marked as Exhibit A.
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       2.      Girot filed an objection to Snedeker’s candidacy in light of Snedeker’s criminal

history on December 26, 2014, and Snedeker withdrew his candidacy on January 6, 2015. See

Plaintiff’s Petition for Candidacy (HRVA 1-10), which is attached to the City of Braidwood’s

Motion to Dismiss, marked as Exhibit B; Girot’s Objection to Plaintiff’s Petition for Candidacy

(HRVA 11-19), which is attached to the City of Braidwood’s Motion to Dismiss, marked as Exhibit

C; and, Plaintiff’s Withdrawal of Candidacy (HRVA 20), which is attached to the City of

Braidwood’s Motion to Dismiss, marked as Exhibit D. See also Henson v. CSC Credit Services, 29

F.3d 280, 284 (7th Cir. 1994) (holding that the district court properly considered and took judicial

notice of matters of public record in deciding the defendants’ Rule 12 motions to dismiss); Santana

v. Cook County Bd. of Review, 679 F.3d 614 (7th Cir. 2012) (transcript and news segments were not

“matters outside pleadings” under Rule 12 because they were both documents to which complaint

had referred, documents were concededly authentic, and they were central to plaintiff’s claim);

Enervations, Inc. v. 3M, 380 F.3d 1066 (8th Cir. 2004) (finding that defendant’s letter and a

memorandum of understanding were embraced by the contract at issue and, thus, could be

considered in ruling on the Rule 12 motion to dismiss); Newcomb v. Brennan, 558 F.2d 825, 829

(7th Cir. 1977) (a court may take judicial notice of facts of “common knowledge” in ruling on a

motion to dismiss, including matters of public record).

       3.      Theories of liability asserted by Snedeker against Girot and the City of Braidwood

include:

       Count I:        Equal Protection – Class of One (42 U.S.C. 1983)
       Count II:       First Amendment Violation (42 U.S.C. 1983)

See Court Doc. No. 18 (Exhibit A).
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       4-17. Defendant Girot adopts paragraphs 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16 and 17 of

the City of Braidwood’s Motion to Dismiss Plaintiff’s First Amended Complaint filed on 3/17/17 as

if it was set forth herein with regard to standing and no injury suffered by the Plaintiff. As the

Plaintiff is ineligible to hold any public office as a matter of law due to his felony conviction,

Plaintiff suffered no injury.

          PROBABLE CAUSE, THOUGH NOT REQUIRED, EXISTED FOR AN
                      INVESTIGATION OF PLAINTIFF

       18.     Plaintiff, in this matter, filed nomination papers that included a sworn statement

of candidacy which in part states “…that I am legally qualified to hold such office…”, as part of

the nomination papers he filed as a candidate. (A copy of Plaintiff’s Statement of Candidacy is

attached hereto, marked as Exhibit 1).

       19.     This court may take judicial notice of Illinois Statute 65 ILCS 5/3.1-10-5 (Illinois

Municipal Code) which states as follows:

       5/3.1-10-5.     Qualifications; elective office

       …
       (b)     A person is not eligible for an elective municipal office of that person is in
       arrears in the payment of a tax or other indebtedness due to the municipality or
       has been convicted on any court located in the United States of any infamous
       crime, bribery, perjury, or other felony.
       …

       20.     This court may also take judicial notice of Illinois Statute 10 ILCS 5/29-10

(Illinois Election Code) which states as follows:

       10 ILCS 5/29-10          Perjury

       Any person who makes a false statement, material to the issue ort point in
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       question, which he does not believe to be true, in any affidavit, certificate or
       sworn oral declaration required by any provision of this Code shall be guilty of a
       Class 3 felony.
       …

       21.     Moreover, this court may take judicial notice of Illinois Statute 10 ILCS 5-29-12,

a Section the Illinois Election Code which states:

       10 ILCS 5/29-12         Disregard of Election Code

       Except with respect to Article 9 of this Code [10 ILCS 5/9-1 et seq.], any person
       who knowingly (a) does any act prohibited by or declared unlawful by, or (b) fails
       to do any act required by, this Code, shall, unless a different punishment is
       prescribed by this Code, by guilty of a Class A misdemeanor.

       22.     Plaintiff in his First Amended Complaint, states that the Defendants did not have

probable cause to “investigate” the Plaintiff. However, probable cause exists when (the known facts

and circumstances are sufficient to warrant a man of reasonable prudence in the belief that

contraband or evidence of a crime will be found.” Ornelas v. United States, 517 U.S. 690, 696, 116

S.Ct. 1657, 1661, 134 L.E.2d 911 (1996). Therefore, probable cause requires “only a probability or

substantial chance of criminal activity, not an actual showing of such activity.” Illinois v. Gates, 462

U.S. 213, 243 n. 13, 103 S.Ct. 2317, 2335 n. 13, 76 L.Ed.2d 527 (1983). In determining whether

probable cause exists, an official must consider the totality of circumstances. Gates, 462 U.S. at 238,

103 S.Ct. at 2332. In this case, Plaintiff filed a Statement of Candidacy stating under oath he was

qualified to hold the office of Mayor. Plaintiff has a felony criminal record. Under the Illinois

Municipal Code, you are not qualified to hold a municipal office if you have been convicted of a

felony. 65 ILCS 5/3.1-10-5 (2014 as amended). A knowingly false statement made with regard to a

document required by the Illinois Election Code is a class 3 felony (Perjury). 10 ILCS 5/29-10 (2014

as amended). Under the Fourth Amendment requirements of probable cause, the Defendant would
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have reason to investigate Plaintiff’s background if Plaintiff’s extensive criminal record was still in

force. (e.g. no pardon or other official change in Plaintiff’s criminal background). U.S.C.A. Const.

Amend. 4.

       23.     This result comports with Willan v Columbia County, 280 F.3d 1160 (7th Cir. 2002).

In Willan, a former mayoral candidate brought a 1983 action against law enforcement officials for

disseminating information about the candidate’s criminal history found in an FBI database. The trial

court granted summary judgment against the candidate. On appeal, the Seventh Circuit Court of

Appeals held that a record of a candidate’s post-conviction of a felony was a public record and its

disclosure did not violate the candidate’s right of privacy. (A copy of Willan v Columbia County is

attached hereto, marked as Exhibit 2).

       24.     Defendant Girot’s position is further supported by the Illinois Supreme Court decision

in People v. Harris, 228 Ill.2d 222 (2008) which held that a warrant check on a passenger in a

vehicle would not be supported by reasonable articulable suspicion of criminal conduct as it does not

reveal any legitimate private information. See Illinois v. Caballes, 543 U.S. 405 (2005). As

Defendant Girot did have a legitimate law enforcement purpose to check the Plaintiff’s background,

even though one is not required, Plaintiff’s First Amended Complaint should be dismissed.

       WHEREFORE, the Defendant, FORMER CHIEF RICH GIROT, Individually, and in his

official capacity as Chief of Police of the City of Braidwood, respectfully prays that this Honorable

Court grant this Defendant’s Motion to Dismiss Plaintiff’s First Amended Complaint, and grant such

other relief as this Court deems just and proper.
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                                     Respectfully submitted,

                                     RATHBUN, CSERVENYAK & KOZOL, LLC


                                     By: /s/ Scott Pyles
                                             Scott Pyles



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